         Case 2:24-md-03113-JXN-LDW Document 15 Filed 08/05/24 Page 1 of 1 PageID: 60
AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                                  DistrictDistrict
                                             __________    of NewofJersey
                                                                     __________


      In re: Apple Inc. Smartphone Antitrust Litigation        )
                             Plaintiff                         )
                                v.                             )      Case No.     2:24-md-03113-JXN-LDW
                                                               )
                            Defendant                          )

                                               APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Apple Inc.                                                                                                   .


Date:          08/05/2024                                                               /s/ Devora W. Allon
                                                                                         Attorney’s signature


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